Case 2:09-cr-00015-EFS   ECF No. 2482   filed 10/25/10   PageID.14257 Page 1 of 6
Case 2:09-cr-00015-EFS   ECF No. 2482   filed 10/25/10   PageID.14258 Page 2 of 6
Case 2:09-cr-00015-EFS   ECF No. 2482   filed 10/25/10   PageID.14259 Page 3 of 6
Case 2:09-cr-00015-EFS   ECF No. 2482   filed 10/25/10   PageID.14260 Page 4 of 6
Case 2:09-cr-00015-EFS   ECF No. 2482   filed 10/25/10   PageID.14261 Page 5 of 6
Case 2:09-cr-00015-EFS   ECF No. 2482   filed 10/25/10   PageID.14262 Page 6 of 6
